Case 2:05-CV-02516-SHI\/|-tmp Document 6 Filed 08/03/05 Page 1 of 2 Page|D 1

 

1N THE UNITED sTATEs DISTRICT COURT FMD mcf "' °‘°
FOR THE wE;r]§:Snrl;§;s;:t::S'll`é)£ TENNESSEE 05 AUG _3 H 32 00
THOM@S'M,-GG{_R_D
EMILY CARYL LEMMINGS, CLE@¢<"?%».S" ULQT?HPHCSM
Plaintiff,
v. No. 05-2516-MaP
FEDEX GROUND PACKAGE
sYSTEM, INC.,
Defendant.

 

ORDER GRANTING DEFENDANT AN
EXTENSION OF TIME TO ANSWER OR O'I`HERWISE RESPOND

 

Upon unopposed motion of Defendant, it is hereby ordered that Defendant’s time to answer
or otherwise respond to Plajntiff’s Cornplaint is extended to and including August 31, 2005.

Entered this 3 day of August, 2005.

M`___,

'S‘JITIUE!'H.“Mays-;-Jr., Judge
United States ~Bisa=iet_€ourt

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This notice confirms a copy of the document docketed as number 6 in
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Honorable Sarnuel Mays
US DISTRICT COURT

